      Case 2:21-cv-01417-DLR Document 111 Filed 06/30/22 Page 1 of 9



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16   PAGE

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                         IN THE UNITED STATES DISTRICT COURT
18                           FOR THE DISTRICT OF ARIZONA
19   Paul A. Isaacson, M.D., on behalf of
20   himself and his patients, et al.,
                                                  Case No. 2:21-CV-1417-DLR
21                         Plaintiffs,
                                                  PLAINTIFFS’ RESPONSE TO
22          v.                                    DEFENDANTS’ NOTICE OF
                                                  SUPREME COURT ORDER AND
23   Mark Brnovich, Attorney General of           SUGGESTION OF MOOTNESS
24   Arizona, in his official capacity; et al.,

25                         Defendants.

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 1          On June 25, 2022, Plaintiffs filed an emergency motion for a preliminary
 2
     injunction against the Interpretation Policy as applied to abortion care, pending Plaintiffs’
 3
     cross-appeal of this Court’s September 28, 2021 Order (ECF No. 52), which denied relief
 4

 5   with respect to Plaintiffs’ facial vagueness challenge against the Interpretation Policy.

 6   ECF No. 107 (“Plaintiffs’ Emergency Motion”). This morning, the Supreme Court
 7
     granted the Defendants’ December 10, 2021 Application for Partial Stay relating to their
 8
     appeal of this Court’s issuance of a preliminary injunction for the Reason Scheme—a
 9

10   wholly separate subsection of the statute at issue in this litigation. Order, Brnovich v.

11   Isaacson, No. 21A222 (U.S. June 30, 2022). This afternoon, Defendants filed a Notice of
12
     Supreme Court Order and Suggestion of Mootness, ECF No. 110 (“Defendants’ Notice”).
13
     Plaintiffs’ Emergency Motion is not moot, and Plaintiffs respectfully request that this
14

15   Court deny Defendants’ request to vacate the briefing and oral argument schedule (ECF

16   No. 109) on Plaintiffs’ Emergency Motion.
17
            First, Defendants misinterpret today’s order from the Supreme Court. Defendants
18
     claim that the Supreme Court’s Order vacated the entirety of this Court’s September 28,
19

20   2021 Order—not just the portion preliminarily enjoining the Reason Scheme, but also the

21   portion denying Plaintiffs’ request for injunctive relief with respect to the Interpretation
22
     Policy. As Defendants only sought emergency relief from the Supreme Court with
23
     respect to a limited portion of the Reason Scheme, Application for Partial Stay at 4 n.1,
24

25   Brnovich v. Isaacson, No. 21A222 (U.S. Dec. 14 2021) (noting that Defendants only

26   sought to stay the injunction as applied to A.R.S. § 13-3603.02(A)(2)), the Supreme
27
     Court’s Order today does not have any bearing on Plaintiffs’ challenge against the
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 1   Interpretation Policy—the only issue currently before this Court in Plaintiffs’ Emergency
 2
     Motion—because the Supreme Court lacked jurisdiction to consider it. United States v.
 3
     Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020) (Courts must “rely on the parties to frame
 4

 5   the issues for decision and assign to courts the role of neutral arbiter of matters the parties

 6   present,” and thus “decide only questions presented by the parties.”) (citation and internal
 7
     quotations omitted).
 8
            Second, even if Defendants’ interpretation of the Supreme Court’s Order is
 9

10   correct, it still would not render Plaintiffs’ Emergency Motion moot. Plaintiffs originally

11   challenged and sought preliminary injunctive relief against the Interpretation Policy as
12
     facially unconstitutionally vague. This Court’s September 28, 2021 Order denied that
13
     request for preliminary injunctive relief. Regardless of whether that Order has been
14

15   vacated in its entirety (and Plaintiffs’ position is that it has not), Plaintiffs have always

16   been free to seek, the more limited as-applied relief sought in Plaintiffs’ Emergency
17
     Motion. This Court has always had the jurisdiction to consider that as-applied relief and
18
     invited Plaintiffs to return to this Court should an as-applied challenge arise. Preliminary
19

20   Injunction Order at 8, ECF No. 52. At bottom, Plaintiffs’ Emergency Motion seeks

21   injunctive relief on new grounds not existing at the time of this Court’s September 28,
22
     2021 Order. Simply, the Plaintiffs’ Emergency Motion is unrelated to the September 28,
23
     2021 Order.
24

25          Moreover, even if this Court agrees that the ultimate impact of the Supreme

26   Court’s Order is to vacate the entirety of this Court’s September 28, 2021 Order—even to
27
     the extent it ruled in the Defendants’ favor—that has no bearing on the ripeness or
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      Case 2:21-cv-01417-DLR Document 111 Filed 06/30/22 Page 6 of 9



 1   substance of Plaintiffs’ Emergency Motion. And, while Plaintiffs do not think it is
 2
     necessary, this Court could simply construe the emergency request for an injunction
 3
     pending appeal as a new request for as-applied relief under Federal Rule of Civil
 4

 5   Procedure 65. Requiring Plaintiffs to refile under a different caption and vacating the

 6   original scheduling order, when the substance of the remainder of Plaintiffs’ Emergency
 7
     Motion remains unchanged, would not only be unnecessary and a waste of this Court’s
 8
     and the parties’ resources, but would amplify the ongoing, irreparable harms outlined in
 9

10   Plaintiffs’ Emergency Motion.

11          Finally, Defendants’ request is premature. The Supreme Court ordered that the
12
     case be remanded to the “Ninth Circuit with instructions to remand to the District Court
13
     for further consideration in light of Dobbs v. Jackson Women’s Health Organization, 597
14

15   U.S. _____ (2022).” Order, Brnovich v. Isaacson, No. 21A222 (U.S. June 30, 2022). The

16   Ninth Circuit has yet to remand the case to this Court.
17
            Accordingly, Plaintiffs respectfully request the Court deny Defendants’
18
     “suggestion of mootness” and maintain the existing briefing and oral argument schedule
19

20   on Plaintiffs’ Emergency Motion.

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     Case 2:21-cv-01417-DLR Document 111 Filed 06/30/22 Page 7 of 9



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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on June 30, 2022, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing. All counsel of record
 4   are registrants and are therefore served via this filing and transmittal.
 5

 6                                                             /s/ Jessica Sklarsky
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